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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION

UNITED STATES OF AMERICA,

VS.                                           CRIMINAL ACTION NO. 4:06CR124-P-B

CHARLES BARRETT MERRILL,
WILBUR TYRONE PEER,
ERWIN DAVID RABHAN,
JIMMY WINEMILLER, AND
WILLIAM MITCHELL WINEMILLER,                                                 DEFENDANTS.

                            SECOND ORDER CONTINUING TRIAL

       This matter comes before the court upon Defendant William Michael Winemiller’s Motion

for Scheduling Conference and Continuance [68-1]. After due consideration of the motion, the court

finds as follows, to-wit:

       Trial is currently set for March 26, 2007. Defense counsel avers that given the complexity

of this case, he and the other defendants’ lawyers need additional time to prepare for the defense of

the Government’s case.

       The Government has no objection to the continuance.

       The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from March 26, 2007 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendants’ counsel more time to

adequately prepare for their clients’ defense. As such, the ends of justice served by the granting of

this continuance outweigh the best interests of the public and the defendant in a speedy trial.




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       IT IS THEREFORE ORDERED AND ADJUDGED that:

       (1) Defendant William Michael Winemiller’s Motion for Scheduling Conference and

Continuance [68-1] is GRANTED insofar as it seeks a continuance and is DENIED insofar as it

seeks a scheduling conference; therefore,

       (2) Trial of this matter is CONTINUED as to all defendants until Monday, July 16, 2007 at

       9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from March 26, 2007 to July 16, 2007 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is June 25, 2007; and

       (5) The deadline for submitting a plea agreement is July 2, 2007.

       SO ORDERED this the 25th day of January, A.D., 2007.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE




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